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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                                AUGUSTA DIVISION                                      ' ·-:--d
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                                                                                            '"' "'· ....,,
STEVE GOODWIN,                                  )
                                                )
                       Plaintiff,               )
                                                )
vs.                                             )   Civil Action No.: 1 :18-CV-001 75
                                                )
FLOCO FOODS, INC.,                              )
                                                )
                      Defendant.                )


                                             ORDER

       Before the Court is the parties' Jo int Motion for Dismissal with Prejudice in a case

asserting a retaliation claim under the Fair Labor Standards Act ("FLSA"). T he parties have

informed the Court that they have settled this case pursuant to a confidential settlement and

mutual re lease agreement.

       Pursuant to Lynn 's Food Stores, Inc. v. United States, 679 F.2d 1350, 1350 ( 1 lth C ir.

1982), and 29 U.S.C. § 2 I 6(c), a court must scrutinize the proposed settlement of a plainti ffs

wage and overtime claims under §§ 206 or 207 of the FLSA for fa irness. H owever, settlement of

retaliation cla ims under the FLSA are not hand led in the same manner. See, e.g., Hernandez v.

Iron Container, LLC, No. 13-22 170-C IV, 20 14 WL 633848, at *2 (S.D. Fla. Feb. 18, 20 14)

("omission of any reference to supervisio n of FLSA retaliatory discharge claims in § 2 I 6(c)

(while specifically referencing FLSA wage claims) suppo rts the conclusion that no superv ision

of FLSA retaliatory discharge cla ims is required ."); Romeo v. Colonial Imports, Ltd., No: 6 : 16-

CV-876-0RL-40, 2016 WL 7644854 (M .D. Fla. Dec. 15, 20 16) (footnote 1) (" Plaintiffs also

alleged c la ims against Defendants fo r reta liation under the FLSA a nd unpaid wages under

Florida statutory law .... The parties settled those cla ims and d ismissed them , as they do not
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require court approval for settlement.") (citations omitted), report and recommendation adopted,

2017 WL 36373 (M.D. Fla. Jan. 4, 2017); Thompson v. Dealer Mgmt. Servs., Inc., No. 6:16-CV-

1468-0RL-40, 2016 WL 7644856, at *2 (M.D. Fla. Dec. 13, 2016) (court need not approve a

settlement involving a FLSA retaliation claim, among other claims), report and recommendation

adopted, 2017 WL 37941 (M.D~ Fla. Jan. 4, 2017).

       Courts within the Eleventh Circuit have held that a court is not required to review the

parties' settlement of a plaintiffs FLSA retaliation claim, provided its terms do not serve to

contaminate the agreement as to the FLSA wage claim. See Kelly v. Aspire Physical Recovery at

Hoover, LLC, No.: 2:17-CV-00961, 2018 WL 3186961, at *2 (N.D. Ala. June 28, 2018)

(concluding that the court need not review the FLSA retaliation claim and finding that ''courts in

this Circuit have generally concluded that an FSLA retaliatory discharge claim is not subject to

the same review unless its tenns contaminate any associated wage claim"); Jemley v. Umbwa,

Inc., No. 615CV8010RL41TBS, 2017 WL 3822896, at *2 (M.D. Fla. Aug. 2, 2017)

("Settlement of FLSA retaliation claims (or of non-FLSA claims, for that matter) need not be

approved by the district court, 'provided its terms do not serve to contaminate the Agreement as

to the FLSA claim."'), report and recommendation adopted, 2017 WL 3732077 (M.D. Fla. Aug.

30, 2017); Yost v. Wyndham Vacation Resorts, Inc., No. 6:10-CV-1583-0RL-36, 2012 WL

1165598, at *3 (M.D. Fla. Mar. 26, 2012) (parties represented to court that they settled plaintiffs

state claim and FLSA retaliation claim in a separate settlement agreement), report and

recommendation adopted, 2012 WL 1165468 (M.D. Fla. Apr. 9, 2012).

       In this case, there is no concern for contamination of any underlying wage/overtime

claims. The parties have certified that Plaintiff has no wage and overtime claims under the

FLSA and that Plaintiffs only FLSA claim is for retaliation. Therefore, after careful
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consideration of this Motion, the Court find s that it need not scruti nize the settlement of

Plaintiff's FLSA retaliation claim.    Kelly, 20 18 WL 3 186961, at *2; Hernandez, 2014 WL

633848, at *2; Yost, 2012 WL 11 65598, at *3.

       Accordingly, the motion is GRANTED and this case is DlSMISSED WITH

PREJUDICE, each party to bear its own attorneys' fees and costs. The Clerk of Court is

DIRECTED to close this case.

       This   JJ11,.iay of   A-¢[/ {     , 2019.




                                                    Christophe L. Ray
                                                    United States Magistrate Judge
                                                    Southern Di strict of Georgia
